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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
vs.                                              §           No. 3:13-CR-422-M
                                                 §
DAVID LYMAN SPALDING,                            §
         Defendant.                              §

             ORDER OF THE COURT ON RECOMMENDATION REGARDING
              REQUEST TO PROCEED IN FORMA PAUPERIS ON APPEAL

       Considering the record in this case and the recommendation of the Magistrate Judge, the
Court hereby finds and orders:

       ( )     The request for leave to proceed in forma pauperis on appeal is GRANTED.

       (X)     The application for leave to proceed in forma pauperis on appeal is DENIED
               because the movant failed to present a certificate of inmate trust account and he has
               not shown that he is a pauper.

               (X)    Although this Court has denied leave to proceed in forma pauperis on
                      appeal, the movant may challenge the denial by filing a separate motion to
                      proceed in forma pauperis on appeal with the Clerk of Court, U.S. Court of
                      Appeals for the Fifth Circuit, within thirty days after service of the notice
                      required by Fed. R. App. P. 24(a)(4). See Fed. R. App. P. 24(a)(5).


       SO ORDERED.

       September 18, 2020.




                                             BARBARA M. G. LYNN
                                             CHIEF JUDGE
